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                       UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MINNESOTA

In Re:                                                               BKY No.: 19-30675
                                                                       Chapter 11 Case
BV Restaurant, Inc.
DBA Cheng Heng Restaurant,
Debtor.
_______________________________________________________________________
             NOTICE OF EXPEDITED HEARING AND MOTION FOR
                 APPROVAL TO USE CASH COLLATERAL AND
                      FOR ADEQUATE PROTECTION
TO: THE DEBTOR, THE UNITED STATES TRUSTEE, AND OTHER PARTIES IN
INTEREST AS SPECIFIED IN LOCAL RULE 9013.3.

         1.   BV Restaurant, Inc. DBA Cheng Heng Restaurant (hereinafter referred to as

“Debtor”), the Debtor-In-Possession in the above-referenced proceeding, moves the Court

for expedited relief and gives notice of hearing.

         2.   The Court will hold an expedited hearing on the Debtor's Motion at 10:30 a.m.

on Tuesday, March 12, 2019, before the Honorable Kathleen H. Sanberg, in Courtroom No.

8 West, United States Courthouse, 300 South Fourth Street, Minneapolis, MN 55415, or as

soon thereafter as counsel can be heard. A final hearing on the Debtor's Motion for Use of

Cash Collateral and for Adequate Protection (“Motion”) is set for 10:00 a.m. on Wednesday,

April 10, 2019, before the Honorable Kathleen H. Sanberg, in Courtroom No. 8 West,

United States Courthouse, 300 South Fourth Street, Minneapolis, MN 55415.

         3.   Any response to the Expedited Hearing and Motion shall be filed and served

not later than 2 hours prior to the March 12, 2019 hearing date. Any response to the

Wednesday, April 10, 2019, Final Hearing on the Debtor’s Motion, shall be filed and served

not later than Friday, April 5, 2019, which is five (5) days prior to the hearing date. THE

COURT MAY ALSO GRANT THE DEBTOR'S MOTIONS, INCLUDING FINAL

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APPROVAL OF ANY ADEQUATE PROTECTION AGREEMENTS WITHOUT A

FURTHER HEARING UNLESS AN APPROPRIATE OBJECTION IS INTERPOSED IN

ACCORDANCE WITH THE RULES.

      4.     This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§157 and

1334, Bankruptcy Rule 5005 and Local Rule 1070-1. This is a core proceeding. The case

is now pending in this Court, having been filed on March 8, 2019.

      5.     This Motion arises under 11 U.S.C. §§363 and 361, together with Bankruptcy

Rule 4001(c) and Local Rule 4001-2. The Debtor seeks an expedited Hearing on its Motion

to use cash collateral and to provide adequate protection.

      6.     The Debtor operates a restaurant. The Debtor has been in the restaurant

business for several years.

      7.     The Debtor’s pre-bankruptcy assets and the Debtor’s cash collateral are

subject to a disputed state tax lien in favor of the Minnesota Department of Revenue

(“MNDOR”). MNDOR is the only creditor with an interest in cash collateral. Numerous

levies by the MNDOR have caused the Debtor to file this chapter 11 case.

      8.     The Debtor’s verified Rule 4001-2 Statement is attached to this Motion and

marked as Exhibit A. The Statement includes a 30-day cash flow projection of the debtor’s

business operations; a six-month cash flow projection of the debtor’s business operations;

a Balance Sheet; and a Profit and Loss Statement. The Debtor’s essential expenses in the

month of March, 2019 will include payroll and related tax payments, rent, insurance, sales

taxes, food purchases, utilities, equipment, credit card payments and supplies.

      9.     Cause exists to hear this matter on an expedited basis. The Debtor will suffer



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irreversible and irreparable harm if it is not able to use cash collateral. The expenditures

the Debtor proposes to make between the preliminary hearing on the Debtor’s Motion and

the Final Hearing are described in detail on the attached verified Rule 4001-2 Statement. If

the Debtor is unable to pay these expenses, it will not be able to conduct its business. The

Debtor’s cash collateral since the filing date will stay the same and not decrease

demonstrating further adequate protection.

       10.    Pursuant to applicable rules, the Debtor reserves the right to call Kunrath

Lam, the CEO of the Debtor in support of this Motion.

       11.    On an interim basis and pending the final hearing on the Debtor’s Motion, the

Debtor proposes to grant a replacement lien to the MNDOR.

       12.    By making this Motion, the Debtor is not seeking to cross collateralize any

pre-petition debt with post-petition collateral. The Debtor is not admitting the validity,

perfection or amount of any pre-petition secured claim or waiving any right with respect

thereto. The relief sought does not grant a lien on the Debtor’s avoidance claims or

bankruptcy causes of action as enumerated under the Bankruptcy Code. This Motion does

not propose to secure pre-petition debt with post-petition loans or otherwise attempt to roll

a pre-petition obligation into a post-petition obligation. This Motion does not deal with or

carve out fees of any professionals. This Motion does not propose to prime any debt of the

Debtor nor does this Motion provide automatic summary relief from the automatic stay to

any creditor. The Debtor is simply proposing to use cash collateral to pay essential

operating expenses and grant a replacement lien in the Debtor’s assets to the MNDOR,

which replacement lien would have the same priority, dignity and effect as the pre-petition

lien held by said creditor, all pending the final hearing on the Debtor’s Motion.

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       WHEREFORE, the Debtor, through its undersigned attorneys, respectfully moves

the Court for an Order granting the Debtor's Motion for expedited relief and granting the

Debtor's Motion authorizing it to use cash collateral and authorizing the Debtor to grant a

replacement lien to the Minnesota Department of Revenue, which replacement lien will

have the same priority, dignity and effect as the pre-petition liens held by said creditor, and

for such other and further relief as the Court may deem just and equitable.


Date: March 8, 2019.                       STEVEN B. NOSEK, P.A.
                                           /e/ Steven B. Nosek
                                           Steven B. Nosek, #79960
                                           Yvonne R. Doose, #397066
                                           2855 Anthony Lane South, Suite 201
                                           St. Anthony, MN 55418
                                           (612) 335-9171
                                           snosek@noseklawfirm.com
                                           ydoose@noseklawfirm.com
                                           ATTORNEYS FOR DEBTOR




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                                                            SIX MONTH CASH FLOW PROJECTION
                                                      BV RESTAURANT, INC. DBA CHENG HENG RESTAURANT
                                                                                                                                                                      EXHIBIT 1
INCOME                               Apr‐19            May‐19              Jun‐19             Jul‐19            Aug‐19              Sep‐19             Oct‐19                     TOTAL
Total Revenue:                   $  71,948.00       $  74,623.00       $  83,374.00       $  77,402.00       $  76,079.00       $  71,378.00       $  62,070.00       $      516,874.00

EXPENSES                             Apr‐19            May‐19              Jun‐19              Jul‐19           Aug‐19              Sep‐19             Oct‐19                         TOTAL
Payroll                          $    8,600.00      $    8,600.00      $    8,600.00      $    8,600.00      $    8,600.00      $    8,600.00      $    8,600.00      $        60,200.00
Rent                             $    5,000.00      $    5,000.00      $    5,000.00      $    5,000.00      $    5,000.00      $    5,000.00      $    5,000.00      $        35,000.00
Food Purchases                   $  21,583.00       $  23,879.00       $  25,012.00       $  23,994.00       $  22,823.00       $  22,127.00       $  18,621.00       $      158,039.00
Utilities                        $    4,000.00      $    4,000.00      $    4,000.00      $    4,000.00      $    4,000.00      $    4,000.00      $    4,000.00      $        28,000.00
Insurance                        $    1,496.00      $    1,496.00      $    1,496.00      $    1,496.00      $    1,496.00      $    1,496.00      $    1,496.00      $        10,472.00
Equipment                        $        500.00    $        500.00    $        500.00    $        500.00    $        500.00    $        500.00    $        500.00    $           3,500.00
Security System                  $          35.00   $          35.00   $          35.00   $          35.00   $          35.00   $          35.00   $          35.00   $              245.00
Supplies                         $    2,000.00      $    2,000.00      $    2,000.00      $    2,000.00      $    2,000.00      $    2,000.00      $    2,000.00      $        14,000.00
Miscellaneous                    $    1,000.00      $    1,000.00      $    1,000.00      $    1,000.00      $    1,000.00      $    1,000.00      $    1,000.00      $           7,000.00
Credit Card/Service Charge       $    1,500.00      $    1,500.00      $    1,500.00      $    1,500.00      $    1,500.00      $    1,500.00      $    1,500.00      $        10,500.00
Total Expenses:                  $  45,714.00       $  48,010.00       $  49,143.00       $  48,125.00       $  46,954.00       $  46,954.00       $  42,752.00       $      326,956.00


Total Income Less Expenses:      $  26,234.00       $  26,613.00       $  34,231.00       $  29,277.00       $  29,125.00       $  24,424.00       $  19,318.00       $      189,918.00
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                      30‐ DAY CASH FLOW PROJECTION AND BUDGET
                    BV RESTAURANT, INC. DBA CHENG HENG RESTAURANT
                                                                                           EXHIBIT 2
INCOME                                                                                          Mar‐19
Total Revenue                                                             $                  71,329.00

EXPENSES                                                                                          Mar‐19
Payroll                                                                   $                        8,600.00
Rent                                                                      $                        5,000.00
Food Purchases                                                            $                      21,399.00
Utilities                                                                 $                        4,000.00
Insurance                                                                 $                        1,496.00
Equipment                                                                 $                           500.00
Security System                                                           $                              35.00
Supplies                                                                  $                        2,000.00
Miscellaneous                                                             $                        1,000.00
Credit Card/Service Charge                                                $                        1,500.00
Total Expenses:                                                           $                     45,530.00

Total Income Less Expenses:                                               $                     25,799.00
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                                 CHENG HENG RESTAURANT/BV RESTAURANT INC
                                  Assets, Liabilities, & Equity - Income Tax Basis
                                                     As of December 31, 2018

                                                                                     Dec 31, 18
          ASSETS
            Current Assets
              Checking/Savings
                 SPIRE FED C UNION 0634 CURRENT                                         -148,058.87

                Total Checking/Savings                                                  -148,058.87

                Other Current Assets
                  Inventory                                                                9,600.00

                Total Other Current Assets                                                 9,600.00

             Total Current Assets                                                       -138,458.87

             Fixed Assets
                Accumulated Depreciation                                                -111,055.00
                Equipments                                                                20,662.69
                Furniture and Equipment                                                   95,144.21

             Total Fixed Assets                                                            4,751.90

             Other Assets
               Accumulated Amortization                                                   -42,102.00
               Deposit - Rent                                                               6,400.00
               Goodwill                                                                    70,169.69
               Security Deposits Asset                                                     10,000.00

             Total Other Assets                                                           44,467.69

          TOTAL ASSETS                                                                    -89,239.28

          LIABILITIES & EQUITY
            Liabilities
               Current Liabilities
                 Other Current Liabilities
                     Payroll Liabilities                                                  -10,574.02
                     Sales Tax Payable                                                      6,558.83
                     Taxes Payables - MN                                                   -3,544.56

                   Total Other Current Liabilities                                         -7,559.75

                Total Current Liabilities                                                  -7,559.75

                Long Term Liabilities
                  Loan From Shareholder                                                 -111,075.00

                Total Long Term Liabilities                                             -111,075.00

             Total Liabilities                                                          -118,634.75

             Equity
               Common Stock                                                               10,000.00
               Retained Earnings                                                         212,350.86
               Shareholder Withdraw                                                     -270,589.68
               Net Income                                                                 77,634.29

             Total Equity                                                                 29,395.47

          TOTAL LIABILITIES & EQUITY                                                      -89,239.28




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                   CHENG HENG RESTAURANT/BV RESTAURANT INC
                        Revenues & Expenses - Income Tax Basis
                                   January through December 2018

                                                                   Jan - Dec 18     % of Income
  Ordinary Income/Expense
       Income
          Sales                                                        861,937.09          100.0%

       Total Income                                                    861,937.09          100.0%

       Cost of Goods Sold
         Purchases                                                     372,275.52           43.2%

       Total COGS                                                      372,275.52           43.2%

    Gross Profit                                                       489,661.57           56.8%

       Expense
         Amortization Expenses                                           4,678.00            0.5%
         Automobile Expense                                              1,740.00            0.2%
         Bank Service Charges                                              561.00            0.1%
         Clearning                                                         400.00            0.0%
         Computer and Internet Expenses                                    444.76            0.1%
         Credit Card Service Charge                                     19,548.82            2.3%
         Depreciation Expense                                            7,463.00            0.9%
         Garbage & Pest Control                                          4,238.78            0.5%
         Insurance Expense                                              28,349.65            3.3%
         Payroll Expenses                                              188,877.16           21.9%
         Payroll Tax Fed                                                18,634.56            2.2%
         Payroll Tax MN                                                    162.00            0.0%
         Postage                                                         3,437.50            0.4%
         Professional Fees                                              14,193.50            1.6%
         Rent Expense                                                   59,590.00            6.9%
         Repairs and Maintenance                                           382.00            0.0%
         Security System                                                   581.48            0.1%
         Supply                                                          8,645.03            1.0%
         Taxes                                                           3,307.50            0.4%
         Telephone Expense                                               2,965.17            0.3%
         Utilities                                                      43,827.37            5.1%

       Total Expense                                                   412,027.28           47.8%

  Net Ordinary Income                                                   77,634.29            9.0%

Net Income                                                              77,634.29           9.0%
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA

BV Restaurant, Inc.                                                             BKY No.: 19-30675
DBA Cheng Heng Restaurant,
                    Debtor.                                                               Chapter 11


_____________________________________________________________________________

                              Memorandum of Law
______________________________________________________________________________

       BV Restaurant, Inc. DBA Cheng Heng Restaurant (“Debtor”) submits this Memorandum

of Law in support of its Motion for an Order Authorizing Use of Cash Collateral (“Motion”).

                                  I. STATEMENT OF FACTS

       The Debtor relies on the verified statement of facts and Local Rule 4001-2 statement

contained in the Motion and incorporates the same herewith.

                       II. STATEMENT OF LAW AND DISCUSSION

       Section 363(c)(2) of the Bankruptcy Code provides that a debtor in possession may use

cash collateral only with the secured creditor's consent or if the court, after notice and a hearing,

so orders. Section 363(e) of the Bankruptcy Code provides that the court must provide the

secured creditor with adequate protection of its interest upon request of the creditor. The Eighth

Circuit Court of Appeals has discussed the issue of adequate protection in the following terms:

       In any given case, the bankruptcy court must necessarily (1) establish the value of the
       secured creditor's interest, (2) identify the risks to the secured creditor's value resulting
       from the debtor's request for use of cash collateral, and (3) determine whether the debtor's
       adequate protection proposal protects values as nearly as possible against risks to that
       value consistent with the concept of indubitable equivalence.

In re Martin, 761 F.2d 472, 476-77 (8th Cir. 1985).

       Based on the facts alleged in the Motion, the Secured Creditor’s interest in the collateral

are adequately protected by the Debtor’s offer. The Debtor has estimated the liquidation value of

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its assets. The Debtor’s cash collateral since the filing date will stay the same and not decrease

demonstrating further adequate protection.

        Usually, in a Chapter 11, the risk to a secured creditor’s interests in cash collateral is that

the Debtor will use all of the collateral and not generate sufficient post-petition collateral to

replace the used collateral. That is not a concern here, as the collateral will not decrease during

the pendency of this case.

        The Debtor has set forth how the value of its assets will remain the same and not decrease

between the Filing Date and the dates through which the Debtor seeks use of cash collateral. The

Debtor has further set forth its necessary budget. Pursuant to the Debtor’s budget, the collateral

position of the Secured Creditor does not adversely change in a material way during the period of

the proposed use of cash collateral.

        The Debtor’s offer to the Secured Creditor as adequate protection of its interest is the

Offer of Adequate Protection described in the Motion. Based on the facts and circumstances of

this case the Offer of Adequate Protection adequately protects the Secured Creditor from any

risks to its collateral from the Debtor’s use of same.

        The Court should grant the motion of the Debtor authorizing the use of cash collateral.

The Debtor has immediate need to use cash collateral in which the Secured Creditor has an

interest. The Debtor’s use of cash collateral during the pendency of this case poses a nominal

risk to the interest of the Secured Creditor. The Secured Creditor will be adequately protected by

the granting of a post-petition lien with the same status, dignity and priority as existed in the cash

collateral prior to the filing of the Debtor’s petition, by the carrying of insurance for the full

replacement value of the collateral, by continuing to operate and to generate replacement




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collateral and by any other form of protection contained in the offer of adequate protection

described in the Motion.

       The Debtor requests an order authorizing use of cash collateral so that the Debtor may

meet the ordinary expenses of operating the Debtor’s business in accordance with the budget and

cash flow projections attached to the Debtor’s Declaration.

                                      III. CONCLUSION

       For the foregoing reasons, the Court should approve the Debtor’s the use of cash

collateral on an interim and final basis as provided in the Motion.



                                                     STEVEN B. NOSEK, P.A.


Dated: March 8, 2019.                                By: /e/ Steven B. Nosek
                                                       Steven B. Nosek (79960)
                                                       Yvonne R. Doose (397066)
                                                       2855 Anthony Lane South, Suite 201
                                                       Minneapolis, MN 55418
                                                       Telephone: 612-335-9171
                                                       Fax: 612-789-2109
                                                       snosek@noseklawfirm.com
                                                       ydoose@noseklawfirm.com
                                                       ATTORNEYS FOR DEBTOR




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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA
   In Re:                                                                    BKY No.: 19-30675
                                                                               Chapter 11 Case
   BV Restaurant, Inc.
   DBA Cheng Heng Restaurant,
   Debtor.
   ______________________________________________________________________________
                                   CERTIFICATE OF SERVICE
   ______________________________________________________________________________
   I hereby certify that on March 8, 2019, I caused a copy of Notice of Expedited Hearing and
   Motion For Approval to Use Cash Collateral and for Adequate Protection; Verification;
   Exhibit; Memorandum of Law; and Proposed Order to be filed electronically with the Clerk
   of Court through ECF, and that ECF will send an e-notice of the electronic filing to the
   following:

            US Trustee: ustpregion12.mn.ecf@usdoj.gov, ecfbkup@comcast.net

   I further certify that I caused a copy of the Notice of Expedited Hearing and Motion for
   Approval to Use Cash Collateral and for Adequate Protection; Verification; Exhibit;
   Memorandum of Law; and Proposed Order to be faxed and/or emailed to the following:

BV Restaurant, Inc.                Internal Revenue Service           MN Dept of Revenue
Attn: Kunrath Lam                  Centralized Insolvency Office      551 Bankruptcy Sections
448 University Avenue              PO Box 7346                        PO Box 64447
St. Paul MN 55103                  Philadelphia PA 19101-7346         St. Paul MN 55164
klamfamily@aol.com                 Fax: 1-855-235-6787                Mdor.bkysec@state.mn.us
IRS District Director              American Fish & Seafood Inc        Anderson Produce
Room 320 Stop 5700                 5501 Opportunity Court             2296 Terminal Road
30 7th Street E #1222              Minnetonka MN 55343                Roseville MN 55113
St. Paul MN 55101                  Fax: 952-935-7861                  Fax: 651-636-7621
No Fax or Email
ComCast                            Guardian Pest Solutions            Lincoln Trading Intl LLC
9602 S 300 West, Suite B           3131 Halvor Ln                     727 Vandalia St
Sandy UT 84070                     Superior WI 54880                  Saint Paul MN 55114
No Fax or Email                    Fax: 1-218-722-2286                Fax: 651-255-3039
Republic Services                  St. Paul Regional Water Svc        Sysco Asian Foods
4325 E 66th St                     1900 Rice Street                   1300 L'Orien St
Inver Grove Heights MN 55075       Saint Paul MN 55113-6810           Saint Paul MN 55117
No Fax or Email                    Waterinquiries@stpaul.gov          Fax: 651-489-5089
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XCel Energy                              Wendy S. Tien
PO Box 9477                              Assistant Attorney General
Minneapolis MN 55484-9477                Office of the MN Attorney General
Fax: 1-800-311-0050                      Suite 900
                                         445 Minnesota Street
                                         St. Paul MN 55101-2127
                                         Wendy.tien@ag.state.mn.us

    Dated this 8th day of March, 2019.                 STEVEN B. NOSEK, P.A.
                                                       /e/ Steven B. Nosek
                                                       Steven B. Nosek, #79960
                                                       Yvonne R. Doose, #0397066
                                                       2855 Anthony Lane South, Suite 201
                                                       St. Anthony, MN 55418
                                                       (612) 335-9171
                                                       snosek@noseklawfirm.com
                                                       ydoose@noseklawfirm.com
                                                       ATTORNEYS FOR DEBTOR
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                       UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MINNESOTA
In Re:                                                                 BKY No.: 19-30675
                                                                        Chapter 11 Case
BV Restaurant, Inc.
DBA Cheng Heng Restaurant,
                  Debtor.
                                    INTERIM ORDER

The Motion of BV Restaurant, Inc. DBA Cheng Heng Restaurant (“Debtor”) for an Order
granting interim use of cash collateral and to grant adequate protection hearing came on for
expedited hearing before the undersigned on the 12th day of March, 2019. Appearances
were noted.

         IT IS HEREBY ORDERED:

         1.   The Debtor’s Motion for expedited hearing is granted.

      2.     The Debtor is authorized to use cash collateral as described in Exhibit 2 to the
Debtor’s Rule 4001-2 Statement on an interim basis; and

       3.      The Debtor is authorized to grant a replacement lien to the Minnesota
Department of Revenue on all assets of the Debtor-In-Possession to the extent of use of
cash collateral, which replacement lien shall have the same priority, dignity and effect as
the pre-petition lien held by said creditor. Assets excluded from the replacement lien are
the Debtor’s bankruptcy causes of action; and

       4.    No additional steps need to be taken to perfect the replacement lien
authorized herein; and

       6.      A final hearing on the motion for an order authorizing the use of cash
collateral shall be held on Wednesday, April 10, 2019 at 10:00 a.m., before the Honorable
Kathleen H. Sanberg, in Courtroom 8 West.



Dated:                                            ________________________________
                                                  Kathleen H. Sanberg
                                                  United States Bankruptcy Judge




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